     Case 1:14-cv-05668-RRM-RER Document 30 Filed 11/20/17 Page 1 of 2 PageID #: 478




                                                The City of New York
ZACBARY lry. CARTER                             Law Department                                      AVE tvfARI-A BRENNAN
Coryoration Caunsel                                IOOCHURCHSTREET                                      Phone: (212) 35ó.2188
                                                  NEWYORK,NY IOMT                                         Fax (212) 35ó-2019
                                                                                                E-mail: abrerman@Jr¡w.nyc.gov
                                                                        November   2t,24fi


         Bv ECF Filins

         Magisüate Judge Ramon E. Reyes, Jr.
         United St¿æs Distict Court
         Eastem Disfict of New York
         225 Cadman Plaza East Rm. N2û8
         Brooklyn, New York 11201

                        Re: Muchmore's       Cafe. LLC v. City ofNew York
                              I   4-cv-05668 (RRI\Ð(RER)

          Your Honor:

                        V/e are the attomeys for the plaintiff Muchmore's CaË, LLC and defendant City

         of New York in the above-referenced action which           seeks a declaratory judgment declaring

          Section 2A-359 et seq. of the Administralive Code of the City of New York unconstitutional.

         These Administrative Code provisions require, amCIng other things, the licensing       of caba¡ets in

         NewYork City.


                        We write this joint letter to inform the Cot¡rt that on October 31,2Ùfi the New

         York City Council voted to approve a law which, among o¡þs¡ things, repeals in its entirety

         subchapter 20 af chapter 2 of title 20 of the Administative Code, vrhich included the challenged

         provisions. In addition, it is anticipated that the signing of this legislation by tåe Mayor will take

         place in the nexttwo weeks.
Case 1:14-cv-05668-RRM-RER Document 30 Filed 11/20/17 Page 2 of 2 PageID #: 479




                   In light of this, the parties intend to execute a Stipulation of Discontinuance to be
  ooso
         ordered" by the Court. Also, with regard to attomey's fees, plaintiffs attorney is currently

  gathering the contemporaneous bi[ing records in preparation for sending them to the             Cþ's
  counsel for   review




                                                                 Very truly yours,

                                                                                     I


                                                                                                       û/lt€
                                                                 Ave MariaBrennan
                                                                 Assista¡rt Corporation Counsel


                                                                 and




                                                                 AndrewMuchmore
                                                                 Mushmore & Associates PLLC
                                                                 217 Havemeyer Street,4ù Floor
                                                                 Brooklyn, New York      ll2ll
                                                                 arnuchmorc@nuehmorelaw.com
                                                                 (e17)n2-A2ee




  Cc:       By ECF fiting




                                                     ')
